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Sam A. Schmidt, Esq.
__________________


                                                      February 19, 2025

Honorable Lewis A Kaplan
United States Courthouse                                     Unredacted and to be Filed
500 Pearl St.                                                Under Seal
New York, NY 10007-1312

               Re: United States v. Matthew Queen,
                    24 Cr. 291 (LAK)

Dear Honorable Judge Kaplan:

      Many decent, caring and hard working people have made mistakes and
faced punishment for those mistakes in this building. They were good to their
family, friends and even to their community. Their attorneys were able to
demonstrate their positive attributes and good deeds in mitigation. Nevertheless,
most earned their punishment which included incarceration for their criminal
conduct.

       For reasons that I will attempt to demonstrate in this submission,
punishment that includes incarceration is not necessary to achieve the purposes
found in 18 U.S.C. § 3553(a) nor as a matter of justice. Matthew Queen has led a
life that has caused many of his family, friends, colleagues, former students and
parishioners to write to Your Honor to describe the man they know and ask for
mercy and leniency.1

       Though lying to a federal officer during an investigation is a serious
offense, the Sentencing Guidelines recognize that it is much less serious than most
of the offenses that result in prosecutions in this courthouse. Importantly, Matthew


       1
         Because of the number of letters being submitted, the letters will be filed as Exhibit A
with a table of contents.

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Queen never intended to interfere or impact the investigation relating to the
allegations of sexual abuse that were alleged to have been committed by a student
at Southwestern Baptist Theological Seminary (hereinafter “SWBTS”). Nor did
he intend to obstruct the government’s subsequent investigation but acknowledges
that his conduct, including his falsehood, was wrong and unlawful.

       Importantly, the impact of lying was not substantial. The local criminal
investigation into the allegations of sexual abuse was not impacted at all. The
document prepared by Employee-1 that was a subject of the government
investigation and led to Dr. Queen’s improper conduct contained no evidence of
misconduct on the part of SWBTS or its employees and was not destroyed or
hidden by Employee-2. Exhibit B.2 Also significant was that Matthew Queen quickly
acknowledged his falsehood, apologized, repented and truthfully testified in the
grand jury. Exhibit C. And while he has not yet been punished by this Court, he
has suffered substantially - he needed to resign from his position as lead pastor of
his church in North Carolina, and he has been regularly criticized in the religious
and secular press with his reputation suffering as a result.3

       Fortunately, most of those who have had personal interaction with Dr.
Queen in the past, as evidenced by the fifty-nine (59) letters, recognize that this
man is not characterized solely by his error. Though some have not, most people
in his religious community have accepted his repentance and have forgiven his
error.

       I will be deviating from my normal structure of a sentencing submission.
Before I consider the offense of conviction and objections to the Presentence
Report (“PSR”), I will discuss Matthew Queen’s character and background. While
I will summarize some of the content of the fifty-nine (59) letters, I will frequently
use the words of those who acknowledge his error but continue to support him and
recognize the qualities in him that make him beloved by so many.



       2
         Though the names of those from SWBTS who have been identified publicly as an
“Employee” in documents in this case have been published in various media, Dr. Queen will
continue to use “Employee” in this publicly filed submission. Further, pursuant to the Court
Order, the documents received from the government will be filed under seal.
       3
          Though he was unaware that he was a target of any further investigation, Dr. Queen left
his position at SWBTS as a result of the continued tumult that was caused by the earlier
investigation.

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Characteristics and Background of Matthew Queen

      Nickie Buckner has been Matthew Queen’s friend since sixth grade. Even
though he considers himself a non-believer, he recognized Matthew’s
“unshakeable belief in God” and did not share his friend’s ideals and beliefs. What
Mr. Buckner appreciates about Matt

       is his authenticity. He genuinely wants to help people regardless of
       who they are or what they believe. I’ve met a lot of religious folks
       growing up in the bible belt, and I can say that most have struck me
       as judgmental and narrow minded. Salt of the earth folk, but not
       people inclined to help others that are “different.” Matt isn’t like
       that. He wants to help anyone. He doesn’t judge or think that he’s
       better than you.

       He doesn’t behave differently in public than he does in private. He
       isn’t fake. He isn’t preaching the word of God one minute and
       living high on the hog the next. He isn’t putting on airs to impress
       people. He visits folks in the hospital. He goes to their homes. He
       shows up for people and tries to do right by them. He isn’t one way
       in the morning and another way in the evening.

Exhibit A15-16.

       How Matthew Queen goes out of his way to help others is one of the themes
of the letters. David Washer, one of the many former students that became a close
friend and colleague, discussed how Matthew Queen advocated and raised money
in support of his work in Madagascar and telephoned him to raise his morale.
When Mr. Washer needed to return to the United States because of his wife’s
illness, Matthew was there to help.

       Matt and another pastor organized support for us that provided a
       completely stocked and furnished house for us the night we
       returned to the US. We could not believe what they had done for
       us. I have seen Matt personally give money to church members and
       students as he heard they were in need. Just last year Matt heard
       that I was working a side job to earn a little extra money for the

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       holidays, and he walked up to me and handed me $100.
       ....

       I later discovered that Matt, who was working part time at our
       church while still working full time at the seminary, selflessly
       offered to give up his church salary so the church could offer me
       those funds until I found a new job.

Exhibit A17-18.

       Matthew Queen not only assisted those who returned from difficult mission
work overseas, he also traveled to do mission work both with students and with
parishioners. Dr. Ryan Stokes noted that “I could share for instance how he
sacrificed his health to carry out mission work in remote and challenging locations
around the world or, closer to home,....” Exhibit A19-20. See also Letter of Laura
L. Daily, Exhibit A21-22.

      As the letters reflect, as a professor, he was beloved by his students, not
simply for his scholarship and inspiration as a lecturer and advisor, but for his
dedication, kindness and willingness to help others beyond what is expected of a
professor. As Dr. John Massey explained,

       Not only did he constantly give of his time to serve students and
       his colleagues, but he also gave of his own financial resources to
       help students in need. He has been among the most popular
       professors in denominational life because of his love for students
       and accessibility to them at any time. Matt is a selfless individual
       and has been a credit to the Christian ministry and the
       denominational community he has served for most of his adult life.

Exhibit A23. Once you met Dr. Queen, whether as a student, colleague or
parishioner, he was available to you no matter where you lived. Dr. Teddy
Sorrells was grateful for Dr. Queen taking him on as a student even though he
already had a full load of doctoral students.

       I had navigated a couple of ministry changes in my life, and I had
       wanted to quit several times. Each time I called Matt up and told
       him I was quitting; he would stop me. He would pray with me,

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       encourage me, and refuse to let me quit. He said these four words
       over and over and I will always be grateful for him, “I believe in
       you!” One of the greatest highlights of my life was when I walked
       across the stage to receive my Doctor of Ministry in Preaching
       degree and stood there while my friend, Matt Queen, “hooded” me.
       This picture hangs in my office and I recall that day often.

Exhibit A24-26.

      Another former student and friend who moved away, Matt Henslee, leaned
on Dr. Queen through extremely emotional and psychological times.

       Through it all, however, Dr. Queen was a phone call away to pray
       for me, encourage me, and offer me wisdom or practical steps to
       deal with what was going on. No longer my professor, no longer
       paid to be there for me, and yet, he was always a phone call or text
       away.

Exhibit A27.

      Not only have former students and colleagues indicated their love and
respect for Dr. Queen, those who worked for him as administrative assistants have
the same opinion. When first hired, Hannah LaFavor thought that “[h]e is
probably just another professor who has a prominent position and that is why
people speak so highly of him." Having worked for him and accompanied him
when talking to students, she found that

       I could not have been more wrong. From the moment I met
       Matthew Queen, I was given the honor of seeing how intentional,
       encouraging, and empathetic he is. Dr. Queen thinks about others
       before himself always. I have never seen him put the interests of
       himself above those that need help and love.

Exhibit A28-29.

      Of course, Matthew Queen’s dedication, devotion and kindness extended to




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his role a pastor. Whether he is visiting those in the hospital,4 or visiting elderly
parents when their children are away, parishioner and friend Sumner Spradling has
witnessed Dr. Queen’s

           love and concern for others. He treats everyone with warmth and
           respect, as if they are the most important person he knows,
           regardless of their background or standing. He is a genuine
           minister in the truest sense of the word, both in the church and in
           the community.

Exhibit A30. See also e.g letters of Candice Kislowski, Exhibit A31-32, Aaron
Ledford, Exhibit A33-34, Susie Piper, Exhibit A35 and other parishioners.

       While one expects letters of support in this situation would express the
positive attributes of the defendant, as some of the examples noted above, the
letters received have been extraordinary. Dr. Jon Okinaga, a professor at SWBTS
acknowledging that he has written letters to the court in the past, explains that
Matthew Queen is a “rare blend of kindness, generosity and thoughtfulness that
sets himself apart.” Exhibit A39. Dr. Travis Kerns, a former professor at SWBTS,
writes that

           Having now worked in five different ministry settings around
           thousands of people across four states, I can say without any doubt
           Matt stands out as the most humble, sincere, caring, giving, and
           genuine person I have ever met. He always looks to help others as
           much as he can without any concern for any personal needs he may
           have.

Exhibit A40. Dr. Stokes, another former professor at SWBTS holds Matthew
Queen in high esteem.

           Matt holds himself to the highest conceivable moral standards, has
           an unusually sensitive conscience, and exhibits an overriding

       4
         Dr. Doris Henderson explained what Dr. Queen did and noted that she visited a lady
who had surgery at Duke Hospital in Durham recently. “She told me how Matt was at the
hospital before her surgery to pray with her and encourage her family members. She broke down
and cried as she was talking. She apologized for crying, but said she felt strongly about how kind
Matt was to her, and that it made her cry.” Exhibit A31-33.

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       concern that he deal with others fairly, compassionately, and
       honestly. He has shared with me on numerous occasions the
       anxiety that he experiences as he tries to determine the morally
       right course of action in a given situation. His friends even tease
       him for his habit of apologizing to us for giving offense even when
       no offense has been given. I cannot recall a single time when Matt
       has wronged me or misled me, though he often worries that he has.
       If it is possible to be pathologically good, that is what Matt is.

Exhibit A19-20.

       Holding Dr. Queen in such great esteem, it is not a surprise that so many of
those writing letters were shocked by his misconduct. His former administrative
assistant, Jessika Sams, noted that “I have also always admired Matt’s desire to do
the right thing at both work and in his personal life” and “I have consistently
witnessed a desire in Matt to do what is right and to make corrections or amends
when a mistake has been made in all areas of his life.” Exhibit A41-42.

       Though clearly embarrassed and ashamed of his wrongful conduct, the
letters make it clear that Dr. Queen has not sought to hide his wrongdoing. He
acknowledged and apologized to those he requested to write letters in his support.
Mrs. Kislowski was in disbelief but understood that even as a man of integrity, Dr.
Queen is human and makes mistakes but “openly acknowledged his mistake and is
committed to taking full responsibility.” Exhibit A34-35. Mr. Spradling writes
that Dr. Queen “has told me personally of his heartfelt remorse and utmost desire
to move past this unfortunate mistake and to return to his purpose and calling as a
minister.” Exhibit A30. Rob Collingsworth, writes that

       Although I have limited knowledge of the details surrounding his
       case, one thing is abundantly clear: Matt has shown extraordinary
       honesty and remorse. In fact, his sincerity and humility have been
       so profound that he personally apologized to me, even though his
       actions did not involve or affect me in any way. This speaks
       volumes about the depth of his character and his unwavering sense
       of accountability.

Exhibit A43-44.


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       Dr. Charles Stewart, an adjunct professor at SWBTS, has a special
relationship with Matthew Queen. Dr. Stewart believes that every pastor should
have his own pastor and accountability partner. At his request, Dr. Queen served
as both for Dr. Stewart, and Dr. Stewart did likewise. As a result,


       Matt was transparent with me as his former accountability partner
       that he had lied during an interview with the federal investigator.
       Matt also shared with me that the Lord soon thereafter began to
       trouble his heart and conscience about this lapse of integrity, the
       deception of his statement, and the disruption of Matt's treasured
       relationship with the Lord which his dishonesty had created.

Exhibit A45. Dr. Queen acknowledged his lie to the government agents and is
prepared to accept its consequences.

       Of course, there are letters from Matthew Queen’s family. His father’s and
brother’s letters provide information about Dr. Queen’s childhood and
relationship, information consistent with his adult life. Exhibit A7-8. His older
daughter, M         , demonstrates that no matter how hard he worked, he always
made time for his children and set a wonderful example for them. Exhibit A6.

        One of the letters that truly stands out in describing Matthew Queen is from
Elizabeth Walters, his mother-in-law. Exhibit A9-11. It is impossible to do the
letter justice by a brief description. Clearly, other than his wife, Mrs. Walters has
the best understanding of who Matthew Queen is, having spent time with him in
his home, her home, traveling with him on vacations and service projects, and
living with them during serious health issues.

         I have known Matt in the roles of my firstborn daughter's
         successful suitor, a graduate and post-graduate student, a
         dynamic preacher, a caring pastor, a devoted husband and father,
         a lauded seminary professor, a particular and honest scholar, a
         leader among his peers, a prolific author, an exceptionally hard
         worker, a generous donor, a sincere friend to all people, and a
         man who humbly offers his help to struggling men and women
         of any race, nationality, age, economic or societal status. I have,
         in fact, seen Matt not only as a professional, a leader in my faith,

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          but also as a humble and forgiving man, and a loving and
          caring family member who can be a little mischievous chasing
          me with a lizard.

Ibid. Mrs. Walters discusses his care and concern not only for his family, “[a]s a
family man, Matt is a superstar,” but also explains what he has done for others
beyond his role as professor and pastor.

          He was also the professor who cooked pancakes overnight to
          feed students studying for final exams... His office was also open
          to counsel students. Often when he heard of a student's need for
          food or special medical care, he personally took them to meet
          their needs, often at his own expense.

Ibid.

       The letter of his wife, Hope Queen, also discusses Dr. Queen’s dedication to
his faith, his family, his students and everyone with whom he comes in contact.
Exhibit A3-5. Importantly, this letter informs of the stress and difficulties Dr.
Queen faced in 2023 as a result of his new position as provost and the continuing
tense atmosphere at SWBTS as a result of the turnover of multiple presidents and
provosts. Fear of dismissals was but one cause of the stress.

       Mrs. Queen not only gives insight to the difficulties that her husband was
facing in early 2023 but also its impact on him. As a result of the DOJ’s subpoena
and investigation, Dr. Queen was told by the SWBTS president not to discuss the
investigation with anyone else. As Mrs. Queen explains,

          As a result, we did not even tell our extended family. Matt has always
          been an extreme extrovert, and the enforced silence, coupled with
          intimidation, led to a downward spiral in his mental health which was
          fueled by the dysfunctional atmosphere at the seminary. Matt was
          frequently appearing as a guest on podcasts to talk about his book; yet he
          was anxious and scared regarding the investigation. Having been led to
          believe that he would be in legal trouble if he told anyone about the
          investigation and assured that the seminary lawyers represented him,
          Matt sought help from neither a counselor nor an attorney. He had
          questions about the investigation but did not feel the liberty to ask the

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           seminary's attorneys out of fear of repercussions at work.

           Matt's anxiety grew. On a regular basis, I walked into our bedroom and
           found him on our bed with his chest heaving and limbs shaking. I
           watched with concern but felt trapped without a way for him to get help
           due to the instruction not to tell anyone about the investigation.

Ibid.

        Others recognize what the turmoil at SWBTS did to Dr. Queen.
              explained

           From 2019-early 2023, our seminary experienced a period
           marked by significant uncertainty and fear, with many faculty
           members, myself included, concerned about job security and an
           unstable environment. These tensions were compounded by a
           lack of trust in the administration then.
           ....
           It became evident to me that the pressures of his role were taking
           a toll on him. I recall observing a noticeable change in Dr.
           Queen’s physical appearance as he began losing significant
           weight. The normally joyful man I had come to know seemed
           burdened by the weight of responsibilities and stress.

Exhibit A46-47, filed under seal.

       Dr. Queen’s kindness, compassion and concern for others sometimes results
in difficulties for him.

         Matt’s deep care for others sometimes makes it difficult for him to
         make tough decisions, as he loses sleep over them and feels
         personally devastated for weeks. Unlike some who only care about
         those who can benefit them, Matt genuinely cares for everyone,
         including the less fortunate.




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Letter of Thomas White, President of Cedarville University.5 Exhibit A48-49.

       The stress and anxiety brought about by being in a situation completely new
to him was too much for Dr. Queen. As the PSR and Mrs. Queen’s letter explain,
Dr. Queen contemplated suicide and with Mrs. Queen’s persuasion, he voluntarily
sought help at a hospital. The government was also concerned about Dr. Queen’s
mental health as a result of its indictment. It insisted that one of the conditions of
his release on bail was for him to obtain the services of a therapist. He did and he
continues to see his therapist.

      The emotional and psychological consequences, perhaps, are the most
severe. As Mrs. Walters explains

             Matt is sad and beaten down. Even when surrounded by his
             family who loves him, Matt often sits silently with his head
             bowed. Once when I asked him why he was so sad, he said he
             was full of regret.

Exhibit A11.

      Mrs. Queen, Mrs. Walters and others have written about the impact that this
prosecution has had on Dr. Queen. Whatever the outcome of this case, hopefully

       5
       Statements made by others found in the 3500 material demonstrate the level of anxiety
at SWBTS and its impact on Dr. Queen. This included firings by Dr. Dockery
        and prior presidents. In describing Dr. Queen, she noted




Exhibit E.

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Your Honor will not believe incarceration is necessary and appropriate. Dr.
Queen has already suffered severe consequences. Professionally he has been
impacted. He was suspended from his position as pastor ultimately leading him to
have to resign, had speaking engagements and publications canceled, and was
repeatedly denigrated in the secular and Christian press. A number of “friends”
have distanced themselves from him. He and his family have been financially
impacted.

      In his letter, Matthew Queen explains how especially difficult early 2023
was and how it impacted him.

       At the end of a tumultuous five-year period (2018-2023), the
       president of Southwestern Seminary, David Dockery, asked me to
       serve as the institution’s interim provost and vice president for
       academic administration. I loved Southwestern. In hindsight,
       however, I was not ready to function well within the dysfunctional
       dynamics of the time. As the DOJ’s investigation unfolded, I felt
       anxious and overwhelmed. I enjoy working with others in
       collaboration, but being told that I could not discuss the situation
       or the accompanying investigation with anyone sent me into a state
       of anxiety unlike anything I had ever experienced. The isolation
       and feeling of being unable to trust some colleagues and attorneys
       led me to make skewed and unwise decisions based on my own
       reasoning.

       Self-doubt, fear, confusion, and uncertainty abounded within me,
       and I felt lost. I lost about forty pounds and was eating and
       sleeping very little. Your Honor, I lost a little bit of myself....
Exhibit A1-2.
       Matthew Queen is in the process of regaining what he has lost in the past
two years. He respectfully requests that Your Honor follow the recommendation
of the PSR.




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Comments and Objections to Offense Conduct
       Dr. Queen made a few objections to statements in the PSR not relevant to
the offense of conviction but have some relevancy to the background of the
investigations. The addendum attempted to summarize the objections and noted
the government’s and Probation’s responses. As a summary, it does not fully
reflect some of the objections and did not include that the objections were
supported by documents. The documents were received as discovery or 3500 and
included statements of other witnesses and will be provided to Your Honor under
seal, pursuant to the protective order. The objection letter is attached as Exhibit F.

       Mr. Queen has never denied the offense conduct. The objections were not
made to minimize or excuse Dr. Queen’s conduct but to correct errors as to
ancillary facts and to offer further explanations of the events, some that involved
Dr. Queen and some that didn’t. The objections also demonstrated that Dr. Queen
corrected his falsehood on his own and apologized shortly thereafter.
        The purpose of the objections to paragraph 9 and part of paragraphs 10 and
11 were to correct the impression that there was misconduct by anyone at SWBTS
regarding the investigation into the allegation of sexual abuse by a student. The
government’s subpoena required the provision of documents regarding sexual
abuse and harassment allegations. The police chief received no document. The
statement “the Seminary’s failure to take action regarding the allegation” implies
that the Seminary should have taken some type of action in November 2022 and
its failure to do was somehow an effort to cover up or negatively impact the police
investigation. This is simply wrong.
       The Burleson Police Department did not want any involvement by SWBTS
for fear it would interfere with their investigation and alert the suspect who could
flee the jurisdiction. The victim and her friend,            , were told WKDWLWGLG
not want SWBTS LQYROYHGbefore                  spoke with Employee-1. To a law
enforcement professional, such as the Chief of Police at the Seminary, who was
informed that the local police were at the end of their investigation, that a warrant
of arrest would be sought soon and the alleged victim was being taken care of, this
was obvious. Clearly, SWBTS should not have interfered with an ongoing
investigation nearing completion for it. See                     Exhibit G, filed under
seal. Importantly, no one at SWBTS interfered with the police investigation.


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      This objection seeks neither to mitigate nor minimize Dr. Queen’s
responsibility because it does not relate to any conduct by him. He had no
knowledge of the complaint about the student until he learned of the arrest on
January 24, 2023. After he learned of the arrest, Dr. Queen participated in the
process to uphold the suspension of the alleged offender when he appealed the
decision of the Dean of Students.
       Dr. Queen also objected to the statement found in paragraphs 10 and 11 that
“Employee-2 directed Employee-1 to destroy the document that was produced.”
The term “destroy” was never used by anyone, and the language used was more
ambiguous. Employee-1 told the government
                                                                (xhibit H. Ms.
      told the government that



          Exhibit I.
       Thus, no one claims that Employee-2 actually used the term “destroy.”
While it is clear that Employee-1 may have interpreted that way, Dr. Queen did
not. Even after he remembered more of the conversation between Employee-1 and
Employee-2, Dr. Queen did not interpret Employee-2's statement for the document
to be destroyed and testified to that under oath. See Exhibit C, grand jury
testimony pages 9-10.
       Both the PSR and the government also challenged Dr. Queen’s statement
that he was distracted during the conversation between Employee-1 and
Employee-2 about the document. This is not a claim made as a result of the
indictment, but one that was made shortly after the event and before there was any
investigation. Almost immediately after the February 13, 2024 meeting where the
issue was discussed, Employee-1 confirmed that Dr. Queen was on the telephone
and was distracted. She told              exactly that.




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Exhibit E                       Also shortly after the February 13, 2023 meeting,
Dr. Queen told         that though he heard Employee-2 say something, he was
distracted Exhibit J,                    In fact, Dr. Queen told       that he felt
badly that he was distracted and not paying attention to the conversation between
Employee-1 and Employee.6




       Additional information that became available during and after the February
13, 2024 meeting at SWBTS increased Dr. Queen’s uncertainty of what was said,
including statements made by Employee-2. Dr. Queen was told that Employee-2
sent a copy of the document to Dr. Dockery and the attorney for SWBTS. He also
learned that Employee-2

                                                        Exhibit K,
   Clearly, the document was not “destroyed” by Employee-2.
      Dr. Queen does not deny that the notes he prepared and was forwarded to
the government falsely stated the date it was written. Though it did not include
everything he remembered after his May 23, 2023 interview with the government,
the contents were accurate. Dr. Queen acknowledged he falsified the date he
prepared his notes to the government shortly after he lied about it. He admitted it
to counsel. He admitted it in his motion to dismiss. And he admitted it when he
pled guilty.
       Dr. Queen does not argue or claim that any of the above explanations or
objections excuses his conduct of making a false statement to the government. He
does not view his uncertainty, anxiety and fears as an excuse for his conduct. He
has always believed that lying is wrong and sinful and understands that lying to
investigating officials is illegal.
Conclusion
      Matthew Queen is a good man but not a perfect one. As many of those who

      6
          Additionally,


                          Exhibit E,

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love and admire him have asked Your Honor not to allow this mistake to define
him. As Dr. Kerns states
       Knowing Matt as well as I do, I have no doubt that his error in
       judgment to which he has admitted does not define him as a
       person. His sorrow and repentance over that error, and his effort to
       correct the error, are what define him.
Exhibit A40. Bruce Gale reiterates that this event
       does not reflect his true character. While this incident was
       unfortunate, I firmly believe it was an anomaly in an otherwise
       exemplary record of behavior. Throughout our acquaintance, Matt
       has consistently demonstrated a genuine concern for the well-being
       of others and has contributed positively to my life and the lives of
       those around him.
Exhibit A50. See other letters, e.g. by Dr. Abiodun Oluwasogo Adegoke, Exhibit
A51; Jimmy Draper (“I would encourage you to consider his stellar reputation and
the effective way he has led his life and ministry. My prayer is that you will find
his sentencing to be one that reflects his lifetime of effective teaching thousands of
students and faithfully caring for his wife in her physical needs and the two
daughters who are now remarkable teenagers.”) Exhibit A52-23.
       In his conversations with those he asked for letters of support, and as often
noted in those letters, Matthew Queen has acknowledged his wrongful conduct,
his regrets and his repentance. He knows he has disappointed so many, including
himself and his faith.
       While I have repented of my sin before God, made it right with the
       government by correcting my false statement to them, and have
       pled guilty before this Court, I will forever live with the knowledge
       that I lied, an action contrary to my faith, my character, and my
       morals. I am daily reminded that my lie has disappointed my God,
       my wife, my daughters, my parents, my brothers, my church, my
       friends, and my students. I fully understand the responsibility I
       have to respect both law and judicial agents. I commit to you, your
       Honor, to apply the lessons I have learned from my mistake for the
       remainder of my life and ministry. I sincerely request your mercy,
       your Honor, as you decide my sentence.


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      As others have said, a man should not be judged solely by his error. This is
especially true for a man who has spent his life helping others and one that will
never make such an error again. There is no identifiable purpose of imposing a
period of incarceration for Matthew Queen. There are numerous identifiable
reasons not to. I respectfully urge Your Honor to accept the recommendation of
the United States Department of Probation and sentence Matthew Queen to one (1)
year of probation and a $2,000 fine.


                                             Respectfully submitted,
                                                   /s/

                                             Sam A. Schmidt
                                             Attorney for Matthew Queen




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